         Case 19-17672-amc                    Doc
 Fill in this information to identify the case:
                                                        Filed 02/18/25 Entered 02/18/25 13:35:50                        Desc Main
                                                        Document      Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Terrance Waller
             __________________________________________________________________


 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________             Pennsylvania
                                                                District of __________
                                                                            (State)
 Case number            19-17672-amc
                       ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                             10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                              Carrington Mortgage Services, LLC
                                                                                                             Court claim no. (if known):
 Name of creditor:               ______________________________________                                      10
                                                                                                             _________________
                                                                                      5464
                                                                                      ____ ____ ____ ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                7425 Rhoads Street
                                 ________________________________________________
                                 Number     Street

                                 _______________________________________________

                                 Philadelphia, Pennsylvania 19151
                                 ________________________________________________
                                 City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:
   X
        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date            $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:
   X    Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:             4____/_____/______
                                                                                       1     2025
                                                                                MM / DD    / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                      (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                + (b) $ __________
        c. Total. Add lines a and b.                                                                                     (c)     0.00
                                                                                                                               $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became             ____/_____/______
        due on:                                                                 MM / DD / YYYY


Form 4100R                                               Response to Notice of Final Cure Payment                                   page 1
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Debtor 1
                 Terrance Waller
                _______________________________________________________
                                                                                                                   19-17672-amc
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
  x I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.


                                                                                                           02/18/25
                     /s/ Andrew M. Lubin
                   __________________________________________________                         Date    ____/_____/________
                   Signature




 Print             Andrew M. Lubin
                   _________________________________________________________                  Title    Attorney for creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            McCabe, Weisberg & Conway,LLC
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            1420 Walnut Street, Suite 1501
                   _________________________________________________________
                   Number                 Street


                   Philadelphia, PA 19102
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone       215
                   (______) 790
                            _____–  1010
                                   _________                                                         ecfmail@mwc-law.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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                         UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Terrance Waller                   Chapter 13
                                           Bankruptcy No. 19-17672-amc
                     Debtor(s)

Carrington Mortgage Services, LLC, or its
Successor or Assignee
                      Movant
              vs.

Kenneth E. West, Trustee
Terrance Waller
                     Respondent(s)

     CERTIFICATION OF SERVICE OF RESPONSE TO NOTICE OF FINAL CURE
                               PAYMENT

         I, Andrew M. Lubin, attorney for Carrington Mortgage Services, LLC, hereby certify that
 I served a true and correct copy of the foregoing Response to Notice of Final Cure Payment, by
 United States Mail, first class, postage prepaid, and/or electronic means, upon the following:
 Date Served:    02/18/25


 Terrance Waller                  MICHAEL A. CIBIK                  KENNETH E. WEST
 7425 Rhoads Street               Cibik Law, P.C.                   Office of the Chapter 13
 Philadelphia, Pennsylvania       1500 Walnut Street                Standing Trustee
 19151                            Suite 900                         190 N. Independence Mall
                                  Philadelphia, PA 19102            West
                                  Attorney for Debtor               Suite 701
                                                                    Philadelphia, PA 19106
                                                                    Trustee

                                  United States Trustee
                                  Office of the U.S. Trustee
                                  Robert N.C. Nix Federal
                                  Building
                                  Suite 320
                                  Philadelphia, PA 19107


                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for Carrington Mortgage Services, LLC
                                       1420 Walnut Street, Suite 1501
                                       Philadelphia, PA 19102
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
                                       Email: ecfmail@mwc-law.com
